
USCA1 Opinion

	





          May 17, 1995                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-2223                                     UNITED STATES,                                      Appellee,                                          v.                               RICHARD G. DUNTON, JR.,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF NEW HAMPSHIRE                   [Hon. Joseph A. DiClerico, U.S. District Judge]
                                              ___________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                           Selya and Lynch, Circuit Judges.
                                            ______________                                 ____________________            David H. Bownes on brief for appellant.
            _______________            Paul  M.  Gagnon,  United  States  Attorney,  and  Jean  B.  Weld,
            ________________                                   ______________        Assistant United States Attorney, on brief for appellee.                                 ____________________                                 ____________________



                 Per Curiam.   We have reviewed  the parties' briefs  and
                 __________            the  record on appeal.   We affirm the  denial of appellant's            motion  to  withdraw his  guilty  plea,  essentially for  the            reasons stated in  the district court's  order of August  22,            1994.                 We add only  the following.  There  was no error in  the            district  court's  declining  to  receive  the  testimony  of            appellant's co-defendant, Robin  Greenan, at  the hearing  on            the motion  to withdraw the  guilty plea.   Greenan's counsel            stated that  Greenan would  invoke her Fifth  Amendment right            against  self-incrimination.    Greenan,  herself,  signed an            affidavit stating  her intention to  invoke that right.   The            information  that Greenan  allegedly could  offer to  bolster            appellant's  claim of  innocence  had  already been  provided            through  the testimony  of  appellant's former  counsel.   In            these  circumstances, the  district court  did not  abuse its            discretion  in deciding not to  put Ms. Greenan  on the stand            for  the purpose of invoking her Fifth Amendment right and in            concluding   that  the   proffered   information   would   be            cumulative.                 The joint motion to submit this appeal on briefs without            oral argument is granted.                 The judgment of the district court is affirmed.  Loc. R.
                                                       _________            27.1.



